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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

JANE DOE 1                         )
                                   )
     Plaintiff,                    )
                                   )         Civil Action File No.:
v.                                 )         1:19-CV-03840
                                   )
RED ROOF INNS, INC., VARAHI HOTEL, )
LLC, FMW RRI NC, LLC, WESTMONT     )
HOSPITALITY GROUP, INC., RRI III, )
LLC, WHG SU ATLANTA, LP, SUB-SU    )
HOTEL GP, LLC, CHOICE HOTELS       )
INTERNATIONAL, INC., WYNDHAM       )
HOTELS & RESORTS, INC., MICROTEL   )
INNS AND SUITES FRANCHISING, INC., )
KUZZINS BUFORD, LLC, RAMADA        )
WORLDWIDE INC., JEET & JJ LLC,     )
NEWTEL V CORPORATION, CPLG HOL,    )         JURY TRIAL DEMANDED
LLC, CPLG PROPERTIES, LLC,         )
COREPOINT LODGING, INC., LQ        )
MANAGEMENT, LLC, LA QUINTA         )
WORLDWIDE, LLC, HAMENT DESAI, VAD )
PROPERTY MANAGEMENT, LLC, VANTAGE )
HOSPITALITY GROUP, INC., 2014 SE   )
OWNER 5-EMORY, LLC, LAXMI DRUID    )
HILLS HOTEL, LLC, JHM HOTELS       )
MANAGEMENT, INC., AURO HOTELS      )
MANAGEMENT, LLC, HILTON FRANCHISE )
HOLDINGS, LLC, HILTON DOMESTIC     )
OPERATING COMPANY, INC., HILTON    )
WORLDWIDE HOLDINGS, INC. and JOHN )
DOES 1-10                          )
                                   )
     Defendants.                   )

   DEFENDANTS HAMENT DESAI AND VAD PROPERTY MANAGEMENT, LLC’S
             ANSWER TO PLAINTIFF’S AMENDED COMPLAINT




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     COME NOW HAMENT DESAI and VAD PROPERTY MANAGEMENT, LLC,

Defendants, by and through their undersigned counsel, and for

their Answer and Defenses show this Court as follows:

                        AFFIRMATIVE DEFENSES

                             FIRST DEFENSE

     Plaintiff fails to state a claim for which relief can be

granted.

                            SECOND DEFENSE

     Plaintiff’s claims are barred because no act or omission by

Defendants caused Plaintiff’s alleged injury or damages.

                             THIRD DEFENSE

     Plaintiff’s claims are barred by the statute of

limitations.

                            FOURTH DEFENSE

     Plaintiff’s claims are barred by acquiescence, waiver,

estoppel, and/or laches.

                             FIFTH DEFENSE

     Plaintiff’s injuries and/or damages were caused by the

conduct of individuals or entities over whom Defendants have no

control or responsibility, and for whose conduct Defendants are

thus not liable.




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                             SIXTH DEFENSE

     Defendants states that there is no causal connection

between Plaintiff’s injuries and/or damages and any act, error,

or omission of Defendants.

                           SEVENTH DEFENSE

     Plaintiff’s injuries and/or damages were caused in whole or

in part by Plaintiff’s negligence, and such negligence equaled

or exceeded any negligence on the part of Defendants.

                            EIGHTH DEFENSE

     Any alleged negligence or breach of duty by Defendants was

not a proximate cause of Plaintiff’s injuries and/or damages.

                             NINTH DEFENSE

     Plaintiff’s injuries and/or damages were caused by a

superseding, intervening act, which was beyond the knowledge or

control of Defendants.

                             TENTH DEFENSE

     Defendants at all times relevant hereto acted in accordance

with the applicable standard of care under the circumstances.

                           ELEVENTH DEFENSE

     Punitive damages in this case are improper because there is

no showing of malicious intent by Defendants to cause harm to

Plaintiff.



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                           TWELFTH DEFENSE

     An award of punitive or exemplary damages in this action

would constitute a violation of Defendants’ right to due process

of law under the Due Process clauses of the Fifth and Fourteenth

Amendments to the United States Constitution and under

Paragraphs 1 and 2 of Article I of the Georgia Constitution

because Georgia does not have sufficient procedural safeguards

to ensure that the jury’s discretion in awarding punitive

damages was reasonably constrained. Therefore, any award of

punitive damages would be an excessive and arbitrary deprivation

of property without due process of law.

                          THIRTEENTH DEFENSE

     Plaintiff’s claims are barred in whole or in part because

Defendants complied with all applicable laws and regulations at

all times relevant to Plaintiff’s claims.

                          FOURTEENTH DEFENSE

     Defendant VAD did not own, operate, or otherwise control

the subject premises and/or businesses at the time of the events

underlying Plaintiff’s claims. Defendant VAD is therefore not

liable to Plaintiff.

                          FIFTEENTH DEFENSE

     There is no clear and convincing evidence that Defendants

are or were guilty of willful misconduct, malice fraud,
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wantonness, oppression or that entire want of care which would

raise the presumption of conscious indifference to consequences,

and accordingly, Plaintiff is not entitled to recover punitive

damages.

                          SIXTEENTH DEFENSE

     Defendants deny that Defendants are liable to Plaintiff in

any sum whatsoever and denies that it is liable for punitive

damages, any award of punitive damages is limited by the cap

provided in O.C.G.A. §51-12-5.1(g).

                         SEVENTEENTH DEFENSE

     Defendants are not jointly and severally liable to

Plaintiff for any of the claims or relief set forth in the

Amended Complaint.

                          EIGHTEENTH DEFENSE

     Plaintiff’s claims are barred, in whole or in part, because

Plaintiff lacks standing to certain of the causes of action.

                          NINETEENTH DEFENSE

     Plaintiff fails to join an indispensable party.

                          TWENTIETH DEFENSE

     Defendants continue to investigate Plaintiff’s allegations

and therefore expressly reserve the right to amend Defendants’

Answer to assert additional defenses that may become apparent

during the course of discovery.
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                         TWENTY FIRST DEFENSE

     Defendants respond to the individually-numbered paragraphs

of the Amended Complaint as follows:

                                   1.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph.

                               2. – 14.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs, including all subparts or

footnotes thereto, with respect to parties other than

Defendants. The allegations contained in these paragraphs,

including all subparts or footnotes thereto, with respect to

Defendants are denied.

                                  15.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph.

                                  16.

     The allegations contained in this paragraph are denied as

to Defendants.

                               17. – 56.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.



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                                  57.

     Defendants admit that Defendant Hament Desai owned the

Americas Best Value Inn located at 1641 Peachtree Street NE;

Atlanta, Georgia 30309. Defendants deny that Defendant VAD

Property Management, LLC owned, managed, supervised, operated,

oversaw, controlled the operation of, and/or was inextricably

connected to the renting of rooms at the Americas Best Value Inn

by Vantage located at 1641 Peachtree Street NE; Atlanta, Georgia

30309 (“Americas Best (Atlanta)”) from which it benefitted

financially. Defendants deny the remaining allegations with

respect to Defendants. Defendants lack sufficient knowledge to

admit or deny the allegations in this paragraph with respect to

parties other than Defendants.

                                  58.

     Defendants admit the allegations in this paragraph.

                                  59.

     Defendants admit the allegations in this paragraph.

                                  60.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph.




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                               61. – 70.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                  71.

     Defendants admit the allegations in this paragraph.

                                  72.

     Defendants admit the allegations in this paragraph with

respect to Defendants. Defendants lack sufficient knowledge to

admit or deny the allegations in these paragraphs with respect

to parties other than Defendants.

                                  73.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs with respect to parties other

than Defendants. To the extent the allegations state or infer

any fault, liability, or violation of any law by Defendants, the

allegations are denied.

                               74. – 80.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs, including all footnotes

thereto.

                                  81.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph, including all footnotes thereto,
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with respect to parties other than Defendants. The allegations

contained in this paragraph, including all footnotes thereto,

with respect to Defendants are denied.

                                  82.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                               83. – 85.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                  86.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                               87. – 91.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs, including all subparts and

footnotes thereto.

                                  92.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than
                                   9
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Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                  93.

     Defendants admit that “Defendants review hotel performance,

room occupancy, and profitability.” The remaining allegations

contained in this paragraph with respect to Defendants are

denied. Defendants lack sufficient to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants.

                                  94.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                  95.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                              96. – 101.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.



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                             102. – 106.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs with respect to parties other

than Defendants. The allegations contained in these paragraphs

with respect to Defendants are denied.

                             107. – 268.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                             269. – 282.

     Defendants deny the allegations in these paragraphs.

                                 283.

     Defendants admit that Vantage has members instead of

“franchisees” and that the members vote on standards and

programs for the hotels, including the Americas Best (Atlanta).

Defendants further admit that Vantage organizes annual meetings

for members of Vantage where members vote on decisions.

Defendants admit that Defendant Desai has attended some, but not

all, annual meetings organized by Vantage. Defendants admit that

if a vote passes at an annual meeting, Vantage requires its

hotels, including the Americas Best (Atlanta), to follow the

decision or standard on which the vote was taken. Defendants

admit that the brand standards enforced by Vantage upon Americas



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Best (Atlanta) involves aspects of hotel management. The

remaining allegations in this paragraph are denied.

                                 284.

     Defendants admit that Vantage members, including Desai, can

vote on standards and programs for the Americas Best Value brand

hotels. Defendants admit that Americas Best Value brand hotels

are required to adhere to certain Vantage brand standards. The

remaining allegations in this paragraph are denied.

                                 285.

     Defendants admit that Vantage provided training for the

Americas Best (Atlanta). The remaining allegations in this

paragraph are denied.

                                 286.

     Defendants admit that Vantage monitors and oversees certain

aspects of the operations at the Americas Best (Atlanta).

Defendants admit that Vantage corporate employees communicate

with the Americas Best (Atlanta) about Vantage policies. The

remaining allegations in this paragraph are denied.

                                 287.

     Defendants are unaware of any “Vantage Resource Guide” and

therefore lack sufficient knowledge to admit or deny the

allegations in this paragraph.



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                                 288.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph.

                                 289.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph.

                                 290.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 291.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph, including all footnotes thereto.

                                 292.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 293.

     Defendants admit that “Vantage sent inspectors to examine

operations at Americas Best (Atlanta).” Defendants deny the

remaining allegations in this paragraph.
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                                 294.

     Defendants admit that Vantage has evaluated the safety and

security measures at the Americas Best (Atlanta). Defendants

deny the remaining allegations in this paragraph.

                                 295.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph, including footnotes thereto, with

respect to parties other than Defendants. The allegations

contained in this paragraph, including footnotes thereto, with

respect to Defendants are denied.

                                 296.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 297.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 298.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph.
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                                 299.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph, including the footnotes thereto.

                                 300.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph.

                                 301.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 302.

     Defendants admit that Vantage monitored reviews and

complaints from third-party websites regarding Americas Best

(Atlanta). Defendants admit that Vantage communicated with the

Americas Best (Atlanta) regarding the reviews and complaints.

The remaining allegations in this paragraph are denied.

                                 303.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph, including all subparts thereto.

                                 304.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than
                                  15
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Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 305.

     Defendants admit that Vantage has directly received

complaints about the Americas Best (Atlanta) and admits that

Vantage has requested that Americas Best (Atlanta) respond to

the complaint. Defendant admits that Vantage could assess a fee

against the Americas Best (Atlanta) if Americas Best (Atlanta)

did not respond to the complaint. The remaining allegations in

this paragraph are denied.

                                 306.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                             307. – 326.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                             327. – 330.

     The allegations contained in these paragraphs call for

legal conclusions; therefore, no response is required. To the

extent the allegations are contrary to the law, the allegations

are denied. To the extent the allegations state or infer any
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fault, liability, or violation of any law by Defendants, the

allegations are denied.

                             331. – 332.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs with respect to parties other

than Defendants. The allegations contained in these paragraphs

with respect to Defendants are denied.

                                 333.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             334. – 339.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 340.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs with respect to parties other

than Defendants. The allegations contained in these paragraphs

with respect to Defendants are denied.

                                 341.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.




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                             342. – 348.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 349.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 350.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             351. – 356.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 357.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 358.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.



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                             359. – 364.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 365.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 366.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             367. – 373.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 374.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 375.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.



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                             376. – 381.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 382.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 383.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             384. – 389.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 390.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 391.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.



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                             392. – 398.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 399.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 400.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             401. – 406.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 407.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 408.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.



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                             409. – 414.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 415.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 416.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             417. – 423.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 424.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 425.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.



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                             426. – 431.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 432.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 433.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             434. – 439.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 440.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 441.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.



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                             442. – 448.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 449.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 450.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             451. – 456.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 457.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 458.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.



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                             459. – 464.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 465.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 466.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             467. – 473.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 474.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 475.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.



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                             476. – 481.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 482.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 483.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             484. – 490.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs with respect to parties other

than Defendants. The allegations contained in these paragraphs

with respect to Defendants are denied.

                                 491.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             492. – 499.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs with respect to parties other



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than Defendants. The allegations contained in these paragraphs

with respect to Defendants are denied.

                                 500.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             501. – 507.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs with respect to parties other

than Defendants. The allegations contained in these paragraphs

with respect to Defendants are denied.

                                 508.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             509. – 514.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 515.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.




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                                 516.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             517. – 523.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 524.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 525.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             526. – 531.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 532.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.



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                                 533.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                                 534.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                             535. – 537.

     The allegations contained in these paragraphs, including

all subparts thereto, call for legal conclusions; therefore, no

response is required. To the extent the allegations are contrary

to the law, the allegations are denied. To the extent the

allegations state or infer any fault, liability, or violation of

any law by Defendants, the allegations are denied.

                             538. – 540.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs with respect to parties other

than Defendants. The allegations contained in these paragraphs

with respect to Defendants are denied.



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                                 541.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph, including all subparts thereto,

with respect to parties other than Defendants. The allegations

contained in this paragraph, including all subparts thereto,

with respect to Defendants are denied.

                             542. – 543.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs with respect to parties other

than Defendants. The allegations contained in these paragraphs

with respect to Defendants are denied.

                             544. – 560.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs, including all subparts thereto,

with respect to parties other than Defendants. The allegations

contained in these paragraphs, including all subparts thereto,

with respect to Defendants are denied.

                                 561.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             562. – 570.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.
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                                 571.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             572. – 576.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 577.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             578. – 586.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 587.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             588. – 593.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 594.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.




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                             595. – 603.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 604.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             605. – 610.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 611.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             612. – 620.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 621.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             622. – 627.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.




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                                 628.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             629. – 637.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 638.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             639. – 644.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 645.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             646. – 654.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 655.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.




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                             656. – 661.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 662.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             663. – 671.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs with respect to parties other

than Defendants. The allegations contained in these paragraphs

with respect to Defendants are denied.

                                 672.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             673. – 678.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs with respect to parties other

than Defendants. The allegations contained in these paragraphs

with respect to Defendants are denied.

                                 679.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.



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                             680. – 688.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 689.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             690. – 695.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 696.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             697. – 708.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 709.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             710. – 721.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.




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                                 722.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             723. – 734.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 735.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             736. – 747.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 748.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             749. – 760.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 761.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.




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                                 762.

     Defendants admit that Defendant Hament Desai owned the

Americas Best (Atlanta) at all relevant times to this cause of

action. The remaining allegations contained in this paragraph

with respect to Defendants are denied. Defendants lack

sufficient knowledge to admit or deny the allegations in this

paragraphs with respect to parties other than Defendants.

                                 763.

     Defendants admit that Defendant Hament Desai was a

supervisor at the Americas Best (Atlanta). The remaining

allegations contained in this paragraph with respect to

Defendants are denied. Defendants lack sufficient knowledge to

admit or deny the allegations in this paragraph with respect to

parties other than Defendants.

                                 764.

     Defendants admit that Defendant Hament Desai was a

supervisor at the Americas Best (Atlanta). The remaining

allegations contained in this paragraph with respect to

Defendants are denied. Defendants lack sufficient knowledge to

admit or deny the allegations in this paragraph with respect to

parties other than Defendants.




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                                 765.

     Defendants lack sufficient knowledge to admit or deny the

allegations in this paragraph with respect to parties other than

Defendants. The allegations contained in this paragraph with

respect to Defendants are denied.

                             766. – 768.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs with respect to parties other

than Defendants. The allegations contained in these paragraphs

with respect to Defendants are denied.

                                 769.

     The allegations contained in this paragraph call for legal

conclusions; therefore, no response is required. To the extent

the allegations are contrary to the law, the allegations are

denied. To the extent the allegations state or infer any fault,

liability, or violation of any law by Defendants, the

allegations are denied.

                             770. – 773.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs with respect to parties other

than Defendants. The allegations contained in these paragraphs

with respect to Defendants are denied.



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                                 774.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             775. – 786.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

                                 787.

     Defendants incorporate their responses to the preceding

paragraphs as if fully set forth herein.

                             788. – 799.

     Defendants lack sufficient knowledge to admit or deny the

allegations in these paragraphs.

     WHEREFORE, Defendant Hament Desai and Defendant VAD

Property Management, LLC pray for the following relief:

  A. That each of Plaintiff’s counts against Defendants be

     dismissed with prejudice;

  B. That judgment be entered in favor of Defendants and against

     Plaintiff on each of Plaintiff’s counts against Defendants;

  C. That all costs be cast upon Plaintiff;

  D. That Defendants have a jury of 12 for a trial of this case;

     and

  E. That the Court award such further relief as is just and

     proper.
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Respectfully submitted this 31st day of December, 2019.

                             KPPB LAW

                             /s/ Angelina Whitaker
                             Roy A. Banerjee
                             Georgia Bar No. 035917
                             Angelina Whitaker
                             Georgia Bar No. 370141
                             One Lakeside Commons, Suite 800
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                             awhitaker@kppblaw.com

                             Counsel for Defendant Hament Desai
                             and Defendant VAD Property
                             Management, LLC




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                     CERTIFICATE OF COMPLIANCE

     Undersigned counsel certifies the foregoing document has

been prepared with one of the fonts and point selections

(Courier New, 12 point) approved by the Court in Local Rule

5.1(C).

     Respectfully submitted this 31st day of December, 2019.

                                 KPPB LAW

                                 /s/ Angelina Whitaker
                                 Roy A. Banerjee
                                 Georgia Bar No. 035917
                                 Angelina Whitaker
                                 Georgia Bar No. 370141
                                 One Lakeside Commons, Suite 800
                                 990 Hammond Drive, NE
                                 Atlanta, Georgia 30328
                                 Telephone: (678) 443-2220
                                 rbanerjee@kppblaw.com
                                 awhitaker@kppblaw.com

                                 Counsel for Defendant Hament Desai
                                 and Defendant VAD Property
                                 Management, LLC




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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

JANE DOE 1                         )
                                   )
     Plaintiff,                    )
                                   )        Civil Action File No.:
v.                                 )        1:19-CV-03840
                                   )
RED ROOF INNS, INC., VARAHI HOTEL, )
LLC, FMW RRI NC, LLC, WESTMONT     )
HOSPITALITY GROUP, INC., RRI III, )
LLC, WHG SU ATLANTA, LP, SUB-SU    )
HOTEL GP, LLC, CHOICE HOTELS       )
INTERNATIONAL, INC., WYNDHAM       )
HOTELS & RESORTS, INC., MICROTEL   )
INNS AND SUITES FRANCHISING, INC., )
KUZZINS BUFORD, LLC, RAMADA        )
WORLDWIDE INC., JEET & JJ LLC,     )
NEWTEL V CORPORATION, CPLG HOL,    )        JURY TRIAL DEMANDED
LLC, CPLG PROPERTIES, LLC,         )
COREPOINT LODGING, INC., LQ        )
MANAGEMENT, LLC, LA QUINTA         )
WORLDWIDE, LLC, HAMENT DESAI, VAD )
PROPERTY MANAGEMENT, LLC, VANTAGE )
HOSPITALITY GROUP, INC., 2014 SE   )
OWNER 5-EMORY, LLC, LAXMI DRUID    )
HILLS HOTEL, LLC, JHM HOTELS       )
MANAGEMENT, INC., AURO HOTELS      )
MANAGEMENT, LLC, HILTON FRANCHISE )
HOLDINGS, LLC, HILTON DOMESTIC     )
OPERATING COMPANY, INC., HILTON    )
WORLDWIDE HOLDINGS, INC. and JOHN )
DOES 1-10                          )
                                   )
     Defendants.                   )

                       CERTIFICATE OF SERVICE

     I hereby certify that December 31, 2019, I electronically

filed Defendant Hament Desai and Defendant VAD Property



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Management, LLC’s Answer to Plaintiff’s Amended Complaint with

the Clerk of Court using the CM/ECF system, which will

automatically send e-mail notification of such filing to all

attorneys of record.


                                 /s/ Angelina Whitaker
                                 Angelina Whitaker
                                 Georgia Bar No.: 370141
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                                 Atlanta, Georgia 30328
                                 Phone: (678) 443-2220
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